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                   United States District Court
                    District of Massachusetts
___________________________________
                                    )
United States of America,           )
                                    )
               v.                   )    Criminal Action No.
                                    )    19-10080-NMG
Gamal Abdelaziz and John Wilson,    )
                                    )
          Defendants.               )
___________________________________)


                          MEMORANDUM & ORDER

GORTON, J.

     On several occasions before and during trial, defense

counsel has objected, or indicated their intent to object, to

the introduction of wiretaps made of calls involving William

“Rick” Singer on grounds that it violates the Confrontation

Clause of the Sixth Amendment.     See U.S. Const. amend. VI.          The

issue has not been fully briefed but the Court finds it

appropriate at this time to address defendants’ objections, as

well as related pleadings by both parties.


     I.   Background


     Defendants have included a Confrontation Clause objection

among their continuing objections (Docket No. 2189, p. 2) and,

during trial, have made several speaking objections on

Confrontation Clause grounds.     On Sunday, September 19, 2021,

the government filed a response to defendants’ Confrontation

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Clause objections (Docket No. 2239).      No antecedent motion has

been filed.   In the government’s response, it addresses various

Confrontation Clause objections by defendants with respect to

the Singer wiretaps raised before and during trial.         Defendants

replied to the government’s response on Wednesday, September 22,

2021 (Docket No. 2248).


    During trial, the government has introduced wiretaps of

telephone calls between Singer and defendant Wilson post-dating

Singer’s cooperation which began on September 21, 2018.

Defendants interposed their continuing objection again at the

time of the introduction of the intercepted telephone calls.


    II.   Arguments of the Parties


    The government asserts that calls intercepted from the

wiretaps of Singer’s phone (both pursuant to 18 U.S.C. § 2510 et

seq. and consensually) are admissible hearsay and that their

admission does not violate the Confrontation Clause.         The

government contends that statements made before Singer began to

cooperate with the government are non-testimonial co-conspirator

statements.   It argues that statements made at any relevant time

by other alleged co-conspirators, such as Jovan Vavic and Donna

Heinel, are likewise non-testimonial co-conspirator statements

and, as such, do not contravene the Confrontation Clause.



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    Further, the government submits that defendants’ statements

are both non-testimonial, co-conspirator statements and party

admissions.   Finally, it asserts that Singer’s post-cooperation

statements are offered to provide context for defendants’

statements, not for their truth, and thus are not testimonial

hearsay of an absent declarant proscribed by the Confrontation

Clause.


    Defendants do not dispute that hearsay statements may

nevertheless be admitted for context.       They submit, however,

that Singer’s statements in the consensual wiretap calls ought

not be admitted because the statements 1) are actually being

used to prove the truth of the matter asserted, 2) do not relate

to any genuine party admissions and 3) provide insufficient

context for those alleged admissions.


    III. Legal Standard


    The Confrontation Clause forbids the admission of

statements by an absent declarant when those statements are

testimonial and the party against whom they are offered has not

had a prior opportunity to cross-examine the declarant.

Crawford v. Washington, 541 U.S. 36, 68 (2004).        In determining

when a declarant’s statements are testimonial, courts look to

all of the relevant circumstances, including the statements and

actions of both parties to any conversation at issue.         United
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States v. Ciresi, 697 F.3d 19, 31 (1st Cir. 2012) (citing

Michigan v. Bryant, 562 U.S. 344, 369 (2011)).


    Co-conspirator statements are not testimonial by their very

nature, United States v. Rodas, 523 F. App’x 731, 733 (1st Cir.

2013), because co-conspirator statements are made for a purpose

other than later use in a prosecution, i.e. furtherance of the

conspiracy.   Ciresi, 697 F.3d at 31.     Thus, the Confrontation

Clause does not limit the admission of such statements.


    Nor do statements not offered for the truth of the matter

asserted abridge the protections of the Confrontation Clause.

United States v. Walter, 434 F.3d 30, 34 (1st Cir. 2006).          It is

well-established First Circuit law that the admission of

statements made by a non-testifying co-conspirator on a

recording does not violate the Confrontation Clause when such

statements are offered not for their truth but only to provide

context for statements made by a party or other conspirators in

the conversation and make them intelligible to the jury.          Id.,

United States v. Perez-Vasquez, 6 F.4th 180, 197 (1st Cir. 2021)

(holding that Confrontation Clause is not violated where

statements are “admitted only to provide context for statements”

made by other co-conspirators), United States v. Santiago, 556

F.3d 65, 69 (1st Cir. 2009) (holding that recordings of what two

informants said are not hearsay in violation of the

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Confrontation Clause because the statements are “essential to

understand the context” of defendant’s own recorded statements).


    IV.   Application


    Admission of statements pre-dating Singer’s cooperation

does not violate the Confrontation Clause because they are

admitted de bene esse as co-conspirator statements.         As such,

they do not implicate the Confrontation Clause.        See Ciresi, 697

F.3d at 31.


    Nor does admission of Singer’s recorded statements post-

dating his cooperation violate the Confrontation Clause.          Those

statements provide necessary context to defendants’ own

statements, without which the latter would be incomprehensible.

While the First Circuit has cautioned that district courts

should not apply an overbroad application of the context

exception to the rule against hearsay, it has consistently

upheld the admission of statements such as those at issue here.

In United States v. Sandoval, the First Circuit explained that

the statements of cooperating witnesses were properly admitted

because they could fairly be characterized as putting the

conversation in context, i.e. putting the defendants statements

in the full context of the conversation so that their

inculpatory nature could be properly understood.        6 F.4th 63,

94-95 (1st Cir. 2021).    Such is the case here.      Defendants’
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statements, purportedly inculpatory in context, cannot be

generally understood out of context.      Admission of Singer’s

statements provides that context and is consistent with Supreme

Court and First Circuit case law.


    The Court’s instant ruling aligns with its limiting

instruction given to the jury at the beginning of the afternoon

session on Tuesday, September 21, when the government began to

introduce the wiretap recordings that post-dated Singer’s

cooperation with the government.      At that time, the Court

informed the jury that they must not consider Singer’s

statements for their truth and may only consider them insofar as

they provide context for the defendants’ statements.         The Court

further defined “context” as how Singer’s statements give

meaning to defendants’ responses, if any.


    Finally, the defendants’ arguments are unavailing.           They

contend that the government’s purpose in introducing the

consensual wiretap calls is to prove that the defendants bribed

coaches.   That may be so but such proof will be dependent upon

defendants’ own admissions.     The Court has instructed the jury

that those admissions may be explained by Singer’s statements

but Singer’s statements themselves are not to be considered.


    Defendants further assert that Singer’s statements neither

relate to admissions nor provide sufficient context therefor.
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The Court disagrees and finds that defendants’ statements are

admissible under Federal Rule of Evidence 801(d) and,

consequently, Singer’s statements are admissible for context.

While defendants submit that Singer’s statements do not offer

the full and complete context of their intentions or their

relationship with Singer, the Confrontation Clause does not

require so much.   See Sandoval, 6 F.4th at 54 (explaining that

admitted cooperating witness statements put “defendants’

statements in the full context of the conversation) (emphasis

added).   To the extent defendants choose to proffer evidence of

their prior dealings with Singer, they remain free to do so.


    Therefore, defendants’ continuing objection based upon the

Confrontation Clause, which have not been reduced to a formal

motion, are OVERRULED.


So ordered.



                                 __/s/ Nathaniel M. Gorton___
                                 Nathaniel M. Gorton
                                 United States District Judge

Dated September 27, 2021




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